     Case 1:25-cv-00352-CJN      Document 24-4     Filed 02/11/25   Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                       DECLARATION OF NATHAN DOE

      I, Nathan Doe, declare the following under penalties of perjury:

      1.      I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.      I am a member of the American Foreign Service Association.

      3.      I am a Foreign Service Officer and Deputy Office Director with

USAID/DRC. In this capacity I support monitoring and evaluation of USAID’s

programs in the DRC; conduct budget planning based on congressional requirements;

oversee communications and outreach efforts; liaise with Washington colleagues to

answer congressional and other inquiries about our programming: and provide

support to 3 limited USAID countries (Central African Republic, Republic of Congo,

and Gabon).

      4.      On Tuesday, January 28, 2025, violent protests erupted in Kinshasa,

with various mobs numbering in the hundreds to thousands moving through the city
     Case 1:25-cv-00352-CJN      Document 24-4     Filed 02/11/25   Page 2 of 4




attacking western embassies and diplomatic installations, including the US Embassy

and a US diplomatic residence. As a result of these targeted attacks, the State

Departed ordered departure (an evacuation) of staff from Embassy Kinshasa. Given

the potential for additional, targeted violence, my family of five - wife, and three

children all below the age of 10, were escorted in a convoy at 3:00AM to a staging

residence and crossed via boat to Brazzaville, arriving there on January 29. We spent

one night in Brazzaville before boarding a charter plane coordinated by the

department of state, arriving nearly 24 hours later in DC on Friday, January 31. We

were able to flee with only four backpacks - leaving behind our dog, and every

household possession we own. While preparing to leave Kinshasa - we had no choice

but to leave - I was uncertain if we could incur any expenses given USAID’s freeze on

resources and obligations - that is, I was uncertain if USAID could pay for our trip,

reimburse us for expenses, etc - and worried - as a good bureaucrat would that I was

committing a funds control violation because there was no guidance from Washington

on whether we could obligate funds to cover the cost of travel. After arriving in DC,

we were met by two senior USAID officials. They were kind and sympathetic.

Unfortunately, they could answer no questions about our status - were we entitled to

funds to cover our stay in DC? Should we go to work on Monday? How could we

support our Mission if we needed IT equipment, etc.? The people who coordinate

evacuations for USAID were not around as a result of being placed on Admin Leave.

As we prepared to go into the office, we were told the buildings would be closed and

told to work from our hotels - which we did. We eventually had an evacuation



                                         2
      Case 1:25-cv-00352-CJN      Document 24-4      Filed 02/11/25    Page 3 of 4




orientation with USAID Washington staff (Wed Feb 5). As the orientation proceeded,

we were repeatedly told that the people who had answers were not on the call as the

majority had been placed in Administrative Leave and had no access to our systems.

This meant that critical questions like an I going to be reimbursed for the apartment

I’m renting right now? Can USAID pay to have our things shipped back to us? The

anguish of being forced to leave Kinshasa in the middle of the night, traveling for 3

days, arriving in DC and having not only any guidance, but no answers and no one to

turn to was incredibly stressful. I sent my family to Michigan to minimize the

personal costs I was incurring and I stayed in DC to work. As news of what was

happening at USAID played on the headlines, and I tried to navigate work, our

situation, etc, I received calls from my children asking if I still had a job and what we

were going to do. My children were scared - not only had we just been through the

trauma of being evacuated, they were scared for me, for us, that we were jobless. As

the week wore on, I continued to have no idea of our status - we are in the US - unable

to find answers or get the support we need because no one is around - all places on

admin leave as I continue to incur thousands of dollars in expenses - with no idea if

we will be reimbursed or will have a job in the coming weeks.

      5.     I am experiencing mental and physical anguish and exhaustion. I am

wondering if I will ever get any of more household effects back - things like baby books

and my children’s toys as a result of the continued threat in Kinshasa - and at the

same time, wondering if I have a job. I am proud to work at USAID, but after reading

baseless tweets from Elon Musk that USAID funded COVID 19 and that USAID



                                           3
      Case 1:25-cv-00352-CJN     Document 24-4      Filed 02/11/25   Page 4 of 4




should die, I found myself reluctant to go outside and tried to distance myself from

affiliation with USAID as I feared for my safety. The mental stress of all of this has

caused sleep issues.

      6.     From January 21-24, I was in Gabon for work. These expenses have been

approved but not reimbursed through my voucher (about $1,000). I have also incurred

over $1,000 in hotel costs to date in DC that no one can tell me, with any certitude

will be repaid. I have decided to move out of the hotel and am imposing on friends to

stay with them to further reduce costs. If our household effects cannot be shipped

back because USAID cannot pay for them, I will be out tens of thousands of dollars -

in addition to our vehicle.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 9, 2025.



                                              /s/ Nathan Doe
                                              Nathan Doe




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